            Case 1:21-cr-00078-RCL Document 3 Filed 01/13/21 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :        Case No:
                                             :
               v.                            :        VIOLATIONS:
                                             :
JOHN EARLE SULLIVAN,                         :        18 U.SC. §§ 231(a)(3), 2
                                             :        (Civil Disorders)
                      Defendant.             :
                                             :        18 U.S.C. § 1752(a)
                                             :        (Restricted Building or Grounds)
                                             :
                                             :        40 U.S.C. § 5104(e)(2)
                                             :        (Violent Entry or Disorderly Conduct)


                         GOVERNMENT=S MOTION TO SEAL
                    CRIMINAL COMPLAINT AND ARREST WARRANT
        The United States of America respectfully moves for this Court to issue an Order directing

 that the Criminal Complaint, Affidavit in Support of Criminal Complaint, Arrest Warrant, and this

 Motion to Seal and the accompanying Order to Seal, be placed under seal until further order of the

 Court. In support of its motion, the Government, which incorporates by reference the

 accompanying Affidavit of Special Agent Matthew B. Foulger of the Federal Bureau of

 Investigation (FBI), states as follows:

       The United States is investigating allegations that John Earle Sullivan and others willfully

and knowingly entered the United States Capitol on January 6, 2021 without legal authority, and

participated in violent and disorderly conduct in violation of 18 U.SC. §§ 231(a)(3) & 2, 18 U.S.C.

§ 1752(a), and 40 U.S.C. § 5104(e)(2). The Affidavit in Support of Criminal Complaint references

evidence gathered in the course of the investigation, including online videos posted by third parties,

some of whom are also under investigation. Release of information about the ongoing investigation,

including the nature and sources of the Government’s evidence, therefore, could impede the integrity

                                                  2
              Case 1:21-cr-00078-RCL Document 3 Filed 01/13/21 Page 2 of 3



of the ongoing investigation by, among other things, leading to the destruction of evidence, hindering

the government’s ability to locate and arrest the defendant, alerting individuals who are the subjects

of the investigation of the existence and extent of the investigation, and alerting these same

individuals of the particular methods being used by law enforcement to investigate their criminal

activities. Thus, a sealing order is necessary to avoid hindering the ongoing investigation in this

matter.

          As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999), there is a

presumption of access to Court proceedings. But, this can be overridden if “‘(1) closure serves a

compelling interest; (2) there is a substantial probability that, in the absence of closure, this

compelling interest would be harmed; and (3) there are no alternatives to closure that would

adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co. v. United States

Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

          In this matter, the United States has a compelling interest in preserving the integrity of its

investigation and arresting the defendant. A limited sealing order ensuring that filings related to the

Criminal Complaint and Arrest Warrant are not accessible from the Court’s public files is narrowly

tailored to serve a compelling interest.

          Furthermore, the United States respectfully submits that complying with the normal notice

requirements of Washington Post would defeat the purpose of the motion to seal. Persons who know

the criminal justice system also know that docketing a motion to seal an Affidavit in Support of

Criminal Complaint and Arrest Warrant, or a resulting sealing order, means that the defendant is

charged with a crime, and the Government intends to arrest him. Thus, if this Motion or a sealing

order were to become public, it would be the same as making public the Complaint and Arrest

Warrant.

                                                    3
          Case 1:21-cr-00078-RCL Document 3 Filed 01/13/21 Page 3 of 3



       WHEREFORE, for all the foregoing reasons, the government respectfully requests that the

Criminal Complaint, Affidavit in Support of Criminal Complaint, Arrest Warrant, and this Motion

to Seal and the accompanying Order to Seal, be placed under seal until further order of the Court.



                                            Respectfully submitted,


                                            MICHAEL R. SHERWIN
                                            ACTING UNITED STATES ATTORNEY
                                            N.Y. Bar No. 4444188

                                    By:      _/s/ Amanda R. Vaughn________
                                            Amanda R. Vaughn
                                            Assistant United States Attorney
                                            MD Bar
                                            555 4th Street N.W.
                                            Washington, DC 20530
                                            202-252-1793
                                            amanda.vaughn@usdoj.gov




                                                4
